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          Case: 22-1409
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  10th CIR. FORM 2. ENTRY OF APPEARANCE AND CERTIFICATE OF
             INTERESTED PARTIES UNDER 10th Cir. R. 46.1

                          UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT

               Entry of Appearance and Certificate of Interested Parties


   ALEJANDRO MENOCAL,                                             Case No. 22-1409
   MARCOS BRAMBILA,
   GRISEL XAHUENTITLA,
   HUGO HERNANDEZ,
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA, and
   DEMETRIO VALERGA,
   on their own behalf and on behalf of all
   others similarly situated
   v.

   THE GEO GROUP, INC.


 INSTRUCTIONS: WITHIN THE TIME PROSCRIBED IN THE COURT’S CASE OPENING
 LETTER FOR THE APPEAL OR OTHER PROCEEDING COUNSEL FOR A PARTY MUST
 EXECUTE AND FILE THIS FORM, INDICATING METHOD(S) OF SERVICE ON ALL OTHER
 PARTIES. MULTIPLE COUNSEL APPEARING FOR A PARTY OR PARTIES WHO SHARE
 THE SAME MAILING ADDRESS MAY ENTER THEIR APPEARANCES ON THE SAME FORM
 BY EACH SIGNING INDIVIDUALLY.

         In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear(s) as counsel for

 The GEO Group, Inc.                     Appellant                                   , in the subject case(s).
 [Party or Parties]          [Appellant/Petitioner or Appellee/Respondent]


 Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)

         On the reverse of this form is a completed certificate of interested parties and/or attorneys not
         otherwise disclosed, who are now or have been interested in this litigation or any related

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        proceeding. Specifically, counsel should not include in the certificate any attorney or party
        identified immediately above.


     There are no such parties, or any such parties have already been disclosed to the court.



 Scott A. Schipma                                Dominic E. Draye
 Name of Counsel                                 Name of Counsel

 s/ Scott A. Schipma                             s/ Dominic E. Draye
 Signature of Counsel                            Signature of Counsel



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                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of this Entry of Appearance and Certificate of Interested

 Parties was served on November 30, 2022, via CM/ECF e-service and email to:

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